           Case 1:93-cr-05147-AWI Document 425 Filed 04/24/08 Page 1 of 2


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7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. Cr. F 93-5147 OWW
                                     )
12                  Plaintiff,       )      ORDER REDUCING SENTENCE PURSUANT
                                     )      TO 18 U.S.C. § 3582(c)(2)
13        v.                         )
                                     )      RETROACTIVE CRACK COCAINE
14   WILLIAM HENRY LEE,              )      REDUCTION CASE
                                     )
15                  Defendant.       )
                                     )
16   _______________________________ )
17        This matter came before the Court on the stipulated motion of the
18   defendant for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2)
19   filed on February 19, 2008.
20        On August 22, 1994, this Court sentenced Mr. Lee to a term of
21   imprisonment of 360 months.     The parties agree, and the Court finds,
22   that Mr. Lee is entitled to the benefit of the retroactive amendment
23   reducing crack cocaine penalties, which reduces the applicable offense
24   level from 42 to 40.
25        IT IS HEREBY ORDERED that the term of imprisonment originally
26   imposed is reduced to 292 months;
27        IT IS FURTHER ORDERED that all other terms and provisions of the
28   original judgment remain in effect.
            Case 1:93-cr-05147-AWI Document 425 Filed 04/24/08 Page 2 of 2


1         Unless otherwise ordered, Mr. Lee shall report to the United
2    States Probation office closest to the release destination within
3    seventy-two hours after his release.
4    IT IS SO ORDERED.
5    Dated: April 24, 2008                  /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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     ORDER REDUCING SENTENCE
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